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                                          Attorneys for Defendant
                                        8 Discovery Communications, Inc.
                                        9                            UNITED STATES DISTRICT COURT
                                       10                                   DISTRICT OF ARIZONA
                                       11 Cody Lundin, an individual,                       ) NO. CV-16-01568-PHX-ROS
1 East Washington Street, Suite 2300




                                                                                            )
                                       12                               Plaintiff,
      Telephone: 602.798.5400
      Phoenix, AZ 85004-2555




                                                                                            ) FIRST NOTICE OF DISCOVERY
         Ballard Spahr LLP




                                                                                            ) AND SETTLEMENT
                                       13                   vs.                             )
                                       14 Discovery Communications, Inc. a Maryland         )
                                                                                            )
                                       15 corporation; Original Media, a New York,          )
                                          LLC; and Brian Nashel, an individual.             )
                                       16                                                   )
                                                                     Defendants.            )
                                       17
                                       18          Pursuant to this Court’s May 12, 2017 Rule 16 Scheduling Order, the parties jointly
                                       19 provide this First Notice of Discovery and Settlement.
                                       20          All parties have issued and responded to written discovery, and the Court issued a
                                       21 ruling on August 31, 2017 regarding the parties’ discovery disputes that, to date, have been
                                       22 brought before the Court. Plaintiff maintains that many other discovery disputes that have
                                       23 arisen may also have to be brought before the Court if the parties fail to come to some
                                       24 agreement in the very near future.         Defendant Discovery Communications, Inc. and
                                       25 Plaintiff have also issued third party subpoenas. To date, no depositions have been taken.
                                       26          The parties have had limited discussions regarding settlement, but those discussions
                                       27 have not resulted in a settlement.
                                       28

                                            DMWEST #17004744 v1
                                               Case 2:16-cv-01568-ROS Document 56 Filed 09/01/17 Page 2 of 3




                                        1           RESPECTFULLY SUBMITTED this 1st day of September, 2017.
                                        2
                                                                                BALLARD SPAHR LLP
                                        3
                                        4                                       By: /s/ Craig C. Hoffman
                                                                                    David J. Bodney
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                                                                                    Shayna Fernandez Watts
                                        6                                           Attorneys for Defendant
                                                                                    Discovery Communications, Inc.
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                                                                                    Jeffrey A. Silence
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                                       15                                       PERKINS COIE LLP

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                                                                                    Katherine E. May
                                       18                                           Attorneys for Original Media, LLC and
                                                                                    Brian Nashel
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                                            DMWEST #17004744 v1
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                                        1                                CERTIFICATE OF SERVICE
                                        2
                                                  I hereby certify that I electronically transmitted the attached document to the
                                        3 clerk's office using the CM/ECF system for filing and transmittal of a notice of electronic
                                          filing to the following CM/ECF registrant, and mailed a copy of same to the following, if
                                        4 a non-registrant, this 1st day of September, 2017:
                                        5                   Kraig J. Marton
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                                       13                   Attorneys for Original Media, LLC and Brian Nashel

                                       14
                                       15 /s/ Catherine M. Weber
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